                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

THOMAS R. McLEAN, M.D. et al.,                )
                                              )
                       Plaintiffs,            )
                                              )
v.                                            )      Case No. 20-0593-CV-W-BP
                                              )
MARGARET BRUCE, as Personal                   )
Representative for the Estate of Jeffrey      )
Bruce,                                        )
                       Defendant.             )

                     ORDER (1) DENYING PENDING MOTIONS AND
                   (2) SETTING DEADLINES AND A DATE FOR TRIAL

       The parties have filed competing proposals for a schedule in this case. Plaintiff has also

filed three motions seeking to prohibit the reopening of various deadlines. Based on its familiarity

with the history of this case, and after considering the parties’ filings on the matter, the three

motions, (Doc. 239, Doc. 240, and Doc. 241), are DENIED and the Court sets the following

schedule:

       1.       TRIAL SETTING. This case is scheduled for a jury trial, 5 days, commencing at

8:30 a.m., on January 29, 2024, at the United States District Courthouse in Kansas City, Missouri.

       2.       TELECONFERENCE. A teleconference is set at 10:00 a.m. on December 28,

2023, to discuss the progress of the case and possible court ordered mediation. Parties shall call

in by dialing (877) 336-1839, and enter access code 4259420.

       3.       PRETRIAL CONFERENCE. A final pretrial conference in this case will be held

at 10:00 a.m., on January 19, 2024, at the United States District Courthouse in Kansas City,

Missouri.




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        4.       DISCOVERY DEADLINE. All pretrial discovery authorized by the Federal Rules

of Civil Procedure shall be completed on or before July 3, 2023. This means that all discovery

shall be completed, not simply submitted, on the date specified by this paragraph.

        The Court will not entertain any discovery motion absent full compliance with Local Rule

37.1.   In the event that a teleconference is needed, email your request to my judicial assistant at

annette_cordell@mow.uscourts.gov. A memorandum of the discovery dispute, not to exceed one

page in length, should be electronically submitted by each party no later than forty-eight hours

prior to the teleconference.

        Prior to bringing any discovery dispute before the Court, the parties are reminded to consult

the Principles for the Discovery of Electronically Stored Information available on the Court’s

website under “Local Rules, ESI Principles, Procedures & Fees.”

        5.       EXPERT DESIGNATION DEADLINES.                   The parties shall have until and

including June 2, 2023, to designate any expert witnesses they intend to call at trial. This paragraph

applies to all witnesses retained or non-retained from whom expert opinions will be elicited at trial.

        Along with each party’s designation of expert witnesses, each party shall provide the other

parties with a report, pursuant to Rule 26(a)(2)(B), Fed. R. Civ. P., from each expert witness

designated. Expert witnesses may testify only as to matters contained in the report described above

unless leave of Court is granted upon good cause shown.

        With respect to treating physicians, coroners and like professionals not retained to testify

for a party, the report requirements of this Order may be satisfied by providing a copy of all the

treating physician’s files, records and notes relating to the treating physician’s patient to the

opposing party. For the purpose of this paragraph, a “treating physician” is a doctor (including

psychiatrist, dentist or other practitioner of the healing arts) retained by a party prior to retaining



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counsel in this matter. A treating physician will not be allowed to give expert testimony beyond

the treatment provided by said physician unless designated as an expert. A treating physician who

will provide expert testimony beyond the treatment provided by said physician must further

comply with the requirements of this Order.

        6.       DISPOSITIVE MOTION DEADLINE. All dispositive motions, except those

under Rule 12(h)(2) or (3), shall be filed on or before August 3, 2023. All dispositive motions

shall have a separate section wherein each statement of fact is individually numbered so that any

party opposing such motion may refer specifically to a genuine issue of material fact. Suggestions

in opposition to a dispositive motion shall begin with a concise listing of material facts as to which

the party contends a genuine dispute exists. All motions for summary judgment shall comply with

Local Rules 7.0 and 56.1.

        7.       PRETRIAL CONFERENCE DOCUMENT DEADLINES. The documents listed

in this section shall be filed prior to the pretrial conference.

                 a.     Motions in Limine. Motions in limine shall be filed at least ten (10) business
                        days prior to the pretrial conference. Responses to motions in limine shall
                        be filed at least three (3) business days prior to the pretrial conference.

                 b.     Stipulation of Uncontroverted Facts. At least three (3) business days prior
                        to the date the pretrial conference is to be held, the parties shall file a
                        stipulation of any uncontroverted facts. If no stipulated facts can be agreed
                        upon, including facts related to the Court’s subject matter jurisdiction, the
                        parties shall file a joint statement to that effect.

                 c.     Witness List. At least five (5) business days prior to the date the pretrial
                        conference is to be held, each party shall file and serve a list of all witnesses
                        who may be called to testify at trial. If a witness is not listed by a party, that
                        witness will not be permitted to testify absent leave of Court and then only
                        for the purpose of unanticipated rebuttal or impeachment.

                 d.     Exhibit List. At least five (5) business days prior to the date the pretrial
                        conference is to be held, each party will file and serve a list of all exhibits
                        which may be offered at trial. If an exhibit is not listed by a party, that



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                          exhibit will not be admitted absent leave of Court. Please use the form
                          Exhibit Index listed on the Court’s website.

                 e.       Stipulation as to the Admissibility of Evidence. At least three (3) business
                          days before the pretrial conference, the parties shall file a stipulation as to
                          the admissibility of evidence, when the identification and foundation of the
                          exhibit is not to be contested.

                 f.       Designation of Deposition Testimony. Fifteen (15) business days before the
                          pretrial conference, each party shall file and serve a designation, by page
                          and line number, of any deposition testimony to be offered in evidence by
                          that party.1

                 g.       Objections to Designated Deposition Testimony and Counter Designation.
                          At least ten (10) business days prior to the pretrial conference, each party
                          shall file and serve:

                          1.       Any objections to proposed deposition testimony designated
                                   by any other party; and

                          2.       A designation, by page and line number, of any deposition testimony
                                   to be offered as counter-designation to deposition testimony
                                   designated by other parties.

                 h.       Submission of Deposition Designations. Seven (7) business days prior to
                          the pretrial conference, each party shall file, serve, and deliver to all other
                          parties and the Court, its objections to any deposition testimony designated
                          pursuant to subparagraphs g. 1. and 2. above.

                          The Court should receive deposition designations in the following manner:

                          1.       The parties are to jointly submit one copy of each designated
                                   deposition.

                          2.       Each party is to highlight the portion of the deposition they want to
                                   designate, including counter-designations.

                          3.       Each party should also indicate their objections on the actual
                                   deposition by bracketing those portions in the margin of the
                                   deposition.

                          4.       Each party should submit to the Court a Word version document of
                                   the Objections to Deposition Designations that you filed in

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  The Court does not permit a party to introduce into evidence the deposition testimony of an individual who provides
in person testimony at trial. See Dhyne v. Meiners Thriftway, Inc., 184 F.3d 983, 989-90 (8th Cir. 1999); Maddox v.
Patterson, 905 F.2d 1178, 1180-81 (8th Cir. 1990); Crimm v. Missouri Pac. R. Co., 750 F.3d 703, 709 (8th Cir. 1984).

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                               CM/ECF. Send that via email to my judicial assistant at
                               annette_cordell@mow.uscourts.gov.

                i.     Jury Instructions. Three (3) business days prior to the pretrial conference,
                       the parties shall jointly file an annotated (with sources) set of proposed jury
                       instructions. Proposed instructions shall reflect the authorities upon which
                       the instruction is based and should be taken from or drawn in the manner of
                       Model Civil Jury Instructions for the District of Courts of the Eighth Circuit
                       and/or Missouri Approved Instructions (MAI) where available and
                       appropriate. All instructions shall be designated as Instruction No. ___.

                       The Court prefers to receive joint instructions from the parties. Separate
                       instructions are appropriate only when the parties cannot agree upon a
                       specific instruction. In that instance, the parties shall jointly submit the
                       instructions upon which they agree. Each party shall submit its proposed
                       version of the instructions upon which the parties do not agree, along with
                       a written objection to the other party’s version.

                       The instructions should also be submitted to the Court electronically, in a
                       Word document. Send the instructions via email to my judicial assistant at
                       annette_cordell@mow.uscourts.gov.

                j.     Trial Brief. At least five (5) business days prior to the pretrial conference,
                       counsel for each party may file a trial brief stating the factual and legal
                       contentions in the case.

                k.     Voir Dire Questions. At least five (5) business days prior to the pretrial
                       conference, counsel for each party shall file a list of questions or topics for
                       voir dire. Objections to opposing party’s voir dire questions shall be filed
                       at least three (3) business days prior to the pretrial conference.

                       At the pretrial conference, the Court will discuss the manner in which voir
                       dire will be conducted. In appropriate cases, the court will permit counsel
                       for the parties to conduct questioning of the panel members. However,
                       questions will be limited to those filed with the court, and the court will
                       limit the amount of time each party will be permitted to conduct
                       questioning.

       8.       SETTLEMENT DEADLINE. Unless otherwise ordered, the court hereby imposes

a settlement deadline of 12:00 Noon on the business day before trial. If the case is settled after

that date, the court may enter an order to show cause why certain costs should not be imposed on

the party or parties causing the delay in settlement.



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        9.       COURTROOM EQUIPMENT.               If any party wants to use the audio/visual

courtroom equipment it is important that they contact the Court’s IT department (816-512-5740)

for training.

        Parties must notify the Court two days prior to the Pretrial Conference and one week prior

to the Trial for any audio/visual use.

IT IS SO ORDERED.



                                                     /s/ Beth Phillips
                                                     BETH PHILLIPS, CHIEF JUDGE
DATE: April 26, 2023                                 UNITED STATES DISTRICT COURT




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